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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 LEADERS OF A BEAUTIFUL
 STRUGGLE, et al.

        Plaintiffs,
                                               Case No. RDB-20-0929
   v.

 BALTIMORE POLICE DEPARTMENT,
 et al.,

        Defendants.



                 BALTIMORE POLICE DEPARTMENT AND POLICE
               COMMISSIONER MICHAEL S. HARRISON’S RESPONSE
           IN OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION



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Dated: April 15, 2020
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       Defendants Baltimore Police Department (“BPD”) and Police Commissioner Michael S.

Harrison, through undersigned counsel, hereby file their response in opposition to Plaintiffs’

Motion for a Temporary Restraining Order & a Preliminary Injunction (Dkt. No. 2). Contrary to

Plaintiffs’ assertions, BPD’s operation of the Aerial Investigation Research (“AIR”) pilot program

is entirely consistent with constitutional principles. There is no basis for this Court to impose the

extraordinary relief that Plaintiffs seek and their Motion should be denied.

                                        INTRODUCTION

       BPD and the City itself currently have a remarkable opportunity. As the City suffers

persistently high levels of violent crime, philanthropic funding in excess of $3.6 million has made

it possible for BPD to evaluate adding a potential investigatory tool for its detectives to use in

combatting the most serious of violent crimes. The primary ambition of the AIR program is to

provide BPD detectives investigating homicides, shootings, and armed robberies (including

carjackings) an additional source of investigative leads – the route travelled to and from the crime

scene by people who were present for the crime, and as such are likely witnesses or potential

suspects.

        The pilot program will be operated by BPD’s vendor, and works by taking sequential aerial

photographs over Baltimore at a resolution of roughly one pixel per person. At this resolution, it

is impossible to discern personal characteristics from the photo. The system is also limited to 12

hours of continuous data collection, and then only during daylight hours under favorable weather

conditions. If aerial data is available, though, the vendor can employ its proprietary technology to

map the movement of dots to or from the scene of a qualifying crime. Based on these routes,

conventional, ground-based, imaging resources such as Citiwatch cameras and license plate

readers may be able to identify the suspects or witnesses present at a crime scene.




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       Though aerial photography is hardly new technology – and its constitutional legitimacy

hardly subject to debate – this application has never been systematically evaluated. The purpose

of the pilot program is to learn, through objective third party research, whether AIR is effective in

helping detectives solve the most serious violent crimes that plague Baltimore City. Upon

conclusion of the pilot program, and informed by the recommendations of multiple independent

research partners, BPD will determine whether, and if so how, the AIR program will continue.

       There is no violation of constitutional rights in taking low-resolution aerial photography

for short time windows and using that data to develop leads in the investigation of violent crimes.

At bottom, this lawsuit is driven by Plaintiffs’ different – in their view, better – ideas of how BPD

should respond to the epidemic of violent crime in Baltimore. What tactics BPD should use, and

what strategies it should pursue, are policy decisions properly entrusted to the Police

Commissioner. The Court should decline Plaintiffs’ invitation to supplant his judgment, as this

would deny BPD the opportunity to explore a potentially useful tool in the City’s crime fight

against violent crime.

                                              FACTS

       On April 1, 2020, the Board of Estimates1 approved and authorized the execution of a

professional services agreement between BPD and a private contractor for the purpose of

conducting the AIR pilot program.2 This approval came one week after the agreement’s first



1
 Currently, the Baltimore City Board of Estimates consists of five voting members: The Mayor,
President of the City Council, the Comptroller, the Acting City Solicitor, and the Acting Director
of Public Works. The President of the City Council serves as President of the Board of
Estimates, and the City Comptroller serves as Secretary to the Board.
2
 The approved agreement (herein, “Agreement”) is Exhibit B to the Declaration of Alexia
Ramirez in support of the Motion. For convenience, page citations to the Agreement refer to the
page number listed in the ECF header.



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appearance on the Board’s agenda, when consideration was postponed to allow for consideration

of a protest lodged by counsel for Plaintiffs in this action. The Agreement outlines the salient

features of the AIR pilot program, the purpose of which is to evaluate the extent to which AIR

may assist BPD in solving and closing some of the most violent crimes in Baltimore City –

murders, shootings, and armed robberies (including carjackings). Agreement, p. 21. Although the

budgeted cost of operating for the pilot period exceeds $3.6 million, philanthropic funds will

support the full cost of the AIR pilot resulting in no cost to City taxpayers. Id. at 4, 29.

       The pilot program will run for approximately six months during which time the contractor

will fly three aircraft over Baltimore City collecting imagery data approximately 12 hours per day,

during daylight hours. Id. at 18-19; Decl. of Ross McNutt, Ph.D. (attached as Exh. A), ¶ 5. The

aircraft will take wide-angle photographs at a resolution limited to one pixel per person.3

Agreement, p. 22. At this resolution, a person is represented by a single dot. The system cannot

determine any personally identifiable characteristic, including a person’s ethnicity, gender, or

clothing, nor features of vehicles. Id. No infrared or night vision technology will be used and the

ability to capture usable data will be weather dependent. Id.

       Once collected, images will be transmitted from the aircraft to ground stations operated by

the contractor. Id. These facilities are staffed by roughly 35 vendor employees, most residents of

the Baltimore area, who have been extensively background checked and trained as analysts or

support the program in other capacities.4 Id. at 9-10; McNutt Decl., ¶ 9. The data is then accessed


3
 Examples of the imagery captured in connection with the AIR pilot program can be found at
pages 7 and 8 of BPD’s Community Education Presentation, attached as Exhibit A to the
Declaration of Alexia Ramirez in support of Plaintiffs’ Motion.
4
  The contractor’s strict privacy policies are not limited to rigorously investigating the
background of employees who will handle the AIR data. McNutt Decl., ¶ 18. All analysts are
trained and agree to follow privacy policies that have been modeled on industry best practices
and incorporate input from a wide range of organizations. Id. As part of the privacy program,


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only after receiving a case number related to a murder, non-fatal shooting, armed robbery, or

carjacking.5 Agreement, p. 1. AIR technology categorically will not be used to seek out criminal

activity. Id. at 1; McNutt Decl., ¶ 11. Indeed, the contractor does not have the authorization, or

even ability, to conduct real-time surveillance. Agreement, p. 24. Rather, the program can be

employed, and the collected images reviewed, only when an egregious violent crime is already

known to have occurred for the purpose of developing investigative leads. Id. at 1.

       Then, the AIR contractor can examine the images and “tag” vehicles or individuals that

were near the crime scene. McNutt Decl., ¶ 12. Human analysts then manually track the “tagged”

moving dots (which represent individuals and vehicles) to and from the incident location, including

over sidewalks and roads in public places. Id. The contractor can use these images to patch

together the movements of the tagged dots subject to some substantial limitations. Id., ¶¶12-13.

For example, if a dot representing a person enters a structure, it is beyond the capability of the

technology to know whether a dot leaving that structure is the same or a different person. Likewise

for a car entering a parking garage. Id., ¶ 13. Further, the continuity of any tracking is necessarily

cut off each evening when data collection for the day ends. Id., ¶ 14. Lacking information about

the movements of people or vehicles during the time that flights are not in operation it is not



the AIR contractor provides internal oversight of its analysts and will report weekly, monthly,
and quarterly their activities and their findings of any unauthorized activity. Id. Every activity
of the analysts is recorded and tracked, and must be traceable to an authorized investigation. Id.
The contractor analyzes the locations and tracks made by all analysts for unauthorized viewing
activity and provides these tools to BPD and external partners to facilitate appropriate oversight.
Id.
5
  The Agreement does allow for use of the technology in extraordinary and exigent
circumstances upon written request of the Police Commissioner. Id. at 21. It is anticipated that
this authority will be rarely, if ever, used. In any event, any use of the AIR technology pursuant
to this provision will be reported to the independent evaluators whose public reporting is
discussed at p. 6-7.



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possible to stitch imagery together to track the same subject day after day. Id. Additionally,

because the process is time intensive, requiring one hour of labor for every two hours of tracked

activity, the number of incidents the contractor can analyze is limited. Id., ¶ 12.The program

captures movement; it cannot capture, look for, or track a named individual or specific vehicle.

       The contractor will provide detectives investigating a target crime with an investigative

briefing within 18 hours, which includes imagery analysis, the location and timing of the crime,

the observable actions at the crime scene, the tracks of vehicles and people to and from the crime

scene and locations visited before and after the crime. Id., 15; Agreement, p. 23. A more detailed

report will be provided within 72 hours, which will include information regarding relevant ground-

based cameras (for example, Citiwatch and license plate readers) along the routes taken to or from

the crime scene and video images of people or vehicles taken as they passed by, if available. Id.

at 23-24. BPD will not directly access the raw photographic data, and intends to use the imagery

and reports provided by the contractor solely for the purpose of investigating the target crime for

which it was requested. Id. at 24; McNutt Decl., ¶ 16. The contractor is prohibited from using

data collected during the AIR pilot for any purpose other than facilitating investigations as

described in the Agreement and assisting prosecutors and defense counsel in criminal prosecutions.

Agreement, p. 24-25.

       If the AIR images are used for an investigatory purpose, they will be compiled into

information packets and become part of the permanent case file. Id. at 22. As with all evidence, it

will be produced to the prosecution and made available to the defense through discovery requests

consistent with the prosecution’s Brady and Giglio obligations. Id. Any imagery not identified as

relevant to a criminal investigation and reduced to an evidentiary packet will be destroyed after 45

days. Id. at 25, McNutt Decl., ¶ 17.




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       Consistent with its purpose to test and rigorously evaluate the AIR program, the pilot is

designed to incorporate robust independent evaluation. Exhibit C to the Agreement requires both

BPD and the contractor to provide full support to multiple independent research partners

evaluating various aspects of the AIR program’s functioning. Id. at 31; see also BPD New

Technology Initiatives, https://www.baltimorepolice.org/sites/default/files/General%20Website

%20PDFs/ BPD_AIR_Research_Descriptions_final.pdf.             Morgan State University has been

requested to conduct an independent review of the program’s overall efficacy in contributing to

solving the target crime categories. The RAND Corporation is also tasked with assessing whether

the AIR program’s data was useful to investigators and whether it produced improved outcomes

as measured by increase in solve rates, clearance rates, or reduction in rates of the target crimes.6

Id. The University of Baltimore will conduct two waves of surveys to assess residents’ perceptions

of the AIR program and how attitudes towards AIR impact perceptions of police legitimacy. Id.

The Policing Project at New York University School of Law will review the program to evaluate

civil rights and civil liberties concerns, and make recommendations for process improvements. Id.

The reports of all of the independent research partners will be made public. Id. at 31-33.




6
  Plaintiffs speculate, unrelated to any legal argument, that the ability to conduct useful research
is somehow impaired by the COVID-19 pandemic and the drastic social distancing measures
implemented to control its spread, including the Governor’s issuance of a “stay-at-home” order.
See Plaintiffs’ Memorandum of Law in Support of Their Motion for a Temporary Restraining
Order & a Preliminary Injunction, ECF No. 2-1 (“Brief”) at 34; Order No. 20-03-30-01 (issued
Mar. 30, 2020) (available at https://governor.maryland.gov/wp-
content/uploads/2020/03/Gatherings-FOURTH-AMENDED-3.30.20.pdf) (last accessed Apr. 13,
2020). As of April 13, 2020 Baltimore had experienced 81 homicides, five more than the same
duration of time in the prior year. Further, homicide data for the preceding 7- and 28-day
periods show year to year increases in 2020 as compared to the same periods in 2019. Certainly,
there is no shortage of murders, shootings, and armed robberies requiring investigation, and
therefore no constraint on RAND’s opportunity to assess the effectiveness of the AIR program in
the context of those investigations.



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       A final safeguard incorporated into the pilot program design is the oversight of an

independent verification and validation (“IV&V”) consultant to audit the AIR program’s

operation. Id. at 34. Whereas the independent researchers are tasked with evaluating various

aspects of the AIR technology’s performance, the IV&V is separately responsible for

independently verifying that the aerial imagery collected in connection with the pilot is used only

for the purposes and stored in accordance with the procedures previously described. Id.

       Finally, consistent with Commissioner Harrison’s commitment to public transparency,

substantial community outreach and education efforts were undertaken before the AIR program

went before the Board of Estimates. On December 20, 2019, Commissioner Harrison announced

publicly of BPD’s intention to move forward on the AIR Program, declaring that the department

would not begin the pilot program until May 2020 so there would be sufficient notice for public

education meetings. Tyler Waldman, Harrison: Surveillance Plan to Return for Trial Program

Next Year, WBAL (Dec. 20, 2019), https://www.wbal.com/article/427127/124/harrison-

surveillance-plane-to-return-for-trial-program-next-year. On March 11, 2020, BPD held an in-

person public meeting, which was simultaneously broadcast through social media, on the program

including an extensive question and answer session. See Eddie Kadhim, Baltimore Police met

with the community to give insight on pilot program, WMAR (Mar. 11, 2020),

https://www.wmar2news.com/spyplane. The second and third planned community meetings were

conducted on March 23 and 30 via Facebook Live due to state limitations on large gatherings

enacted in response to COVID-19 concerns. In total, the Police Commissioner presented and

responded to public questions on the AIR pilot program for more than three hours and the videos

of these presentations received roughly 30,000 views. All three public meetings remain available




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online and on the city’s public broadcasting station, CharmTV.7 Commissioner Harrison also

agreed to be interviewed extensively on this program by the Baltimore Sun editorial staff, which

subsequently authored an editorial on the AIR program, in addition to widespread local news

media coverage. Consistent with BPD’s obligations under the Consent Decree8 it announced the

AIR pilot program on its website including links to the public education materials, descriptions of

the   roles   of   the     independent   research   partners,   and    the   Agreement.        See

https://www.baltimorepolice.org/transparency/newtechnologyinitiatives.           Likewise     BPD

maintained open channels of communication with its Consent Decree Monitor and representatives

of the Department of Justice as early as December 2019, when the AIR pilot program was being

developed. BPD presented AIR briefings to and consulted with representatives of the State’s

Attorney’s Office for Baltimore City and United States Attorney’s Office. Furthermore, all

members of Baltimore’s federal, state and local elected delegations were given copies of the

community educational presentation and an open line for communication of any questions or

concerns of the program.

       The AIR pilot program is currently in a preparatory phase. Test flights involving collection

of aerial imagery are temporarily suspended with the agreement of the Police Commissioner,

pending resolution of the instant Motion.




7
 The following were last accessed on April 13, 2020. March 11 meeting available at
https://www.facebook.com/BaltimoreCityPolice/videos/1062399994125598/; March 23 meeting
available at https://www.facebook.com/BaltimoreCityPolice/videos/3400646286628872/; March
30 meeting available at https://www.facebook.com/BaltimoreCityPolice/videos/
212014970074066/.
8
 See United States v. Police Dep’t of Balt. City, No. 17-cv-00099-JKB, ECF No. 2-2 (as
modified by ECF No. 39).



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                                     STANDARD OF REVIEW

        A preliminary injunction is an “extraordinary remedy.” Winter v. Nat. Res. Defense

Council, Inc., 555 U.S. 7, 22 (2008). It is the Plaintiffs’ burden to demonstrate that (1) they are

likely to succeed on the merits, (2) they are likely to suffer irreparable harm, (3) the balance of

hardships tips in their favor, and (4) the injunction is in the public interest. Id. at 20 (citation

omitted). The Fourth Circuit has instructed that courts determining whether to impose such

extraordinary relief “must separately consider each Winter factor.” Di Biase v. SPX Corp., 872

F.3d 224, 230 (4th Cir. 2017) (citation omitted).

        A plaintiff must make a “clear showing that he is likely to succeed at trial.” Id. (Citation

omitted) (emphasis added). Thus, a preliminary injunction is “never awarded as of right,” and

courts must pay “particular regard for the public consequences in employing the extraordinary

remedy of injunction.” Winter, 555 U.S. at 24 (citation omitted). Courts will not issue preliminary

injunctions based on the “possibility” of irreparable harm, and moreover, “[t]he “possibility that

adequate compensatory or other corrective relief will be available at a later date . . . weighs heavily

against a claim of irreparable harm,” and, there is a “presumption that a preliminary injunction will

not issue.” Id. (citations omitted) (alterations in original).

                                            ARGUMENT

        Plaintiffs have not met their burden to show that they are entitled to the extraordinary relief

requested. First, Plaintiffs have not made a “clear showing” that they are “likely” to succeed on

the merits. Di Base, 872 F.3d at 230. Despite Plaintiffs’ expansive reading of the Supreme Court’s

decision in Carpenter v. United States, 138 S. Ct. 2206 (2018)—which the Court specifically

instructed should be read as a “narrow one,” id. at 2220—and their mischaracterization of the AIR

pilot program as some sort of Orwellian eye-in-the sky, the case law unequivocally establishes that




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aerial surveillance in public places is not a search within the meaning of the Fourth Amendment.

See, e.g., Florida v. Riley, 488 U.S. 445 (1989); California v. Ciraolo, 476 U.S. 207 (1986); Dow

Chemical Co. v United States, 476 U.S. 227 (1986). Their First Amendment claim stands even less

of a chance of success, since Plaintiffs lack standing for the Court to entertain it on the merits.

Laird v. Tatum, 408 U.S. 1 (1972). Even assuming arguendo that Plaintiffs have shown a

“possibility” of success, the Supreme Court took care to differentiate between likelihood and

possibility, and has instructed that “possibility” is categorically beneath the threshold required for

a court to grant a preliminary injunction. Winter, 55 U.S. at 22.

       Second, and relatedly, Plaintiffs have not shown that they will “likely” suffer irreparable

harm because they have not established that they will “likely” prevail on the merits.

       Third, Plaintiffs have not shown that the public interest favors granting a preliminary

injunction. They have not “clearly” shown that they are “likely” to succeed on the merits, and, in

addition, the AIR program has community support, as articulated below. The Plaintiffs describe

themselves as “Baltimoreans,” suggesting that they speak for the community at large: they do not.

Plaintiffs are not entitled to usurp the BPD’s tactical and policy decisions because such decisions

do not align with their political agenda. See, e.g. Brief at 23 (asserting that remedying violent crime

is Plaintiffs’ self-adopted “mission” and explicating Plaintiffs’ preferred crime control strategies).9


9
  Of note, BPD and Commissioner do not disagree with Plaintiffs that addressing the root causes
of crime necessarily requires reinvesting in historically underinvested communities and
rebuilding relationships with those communities. While other partners in the government,
philanthropic, and community spheres are integral to that effort, Commissioner Harrison’s
realignment of the BPD around principles of community-based, problem-solving policing
models supports Plaintiffs’ stated objectives. See CRIME REDUCTION & DEPARTMENTAL
TRANSFORMATION PLAN, June 2019, p. 12-13, https://www.baltimorepolice.org/sites/default/
files/General%20Website%20PDFs/BPD_Crime_Reduction_and_Departmental_Transformation
_Plan.pdf (last accessed Apr. 14, 2020).

Commissioner Harrison departs from the Plaintiffs, however, on the proposition that a single
strategy is sufficient to address Baltimore’s chronically high violent crime levels. His experience


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       Fourth, Plaintiffs have not shown that the equities favor granting such an “extraordinary

remedy.” Plaintiffs argue that BPD “will suffer little, if any injury” if the Court grants a

preliminary injunction that indefinitely forestalls progress on the AIR program. Brief at 33. This

statement is baseless and ignores reality. The window of opportunity for BPD to avail itself of the

philanthropic resources that make the AIR pilot program possible has not been guaranteed to

remain open in perpetuity. Again, Plaintiffs are not entitled to an injunction “as of right.” Winter,

555 U.S. at 24 (citation omitted).

       It is Plaintiffs’ burden to show that they are entitled to a preliminary injunction—it is not

BPD’s burden to show that the AIR program is constitutional at this stage. Plaintiffs have not met

their burden with respect to even one of the four required elements, and therefore, the Court should

deny Plaintiffs’ request for extraordinary relief.

I.     Plaintiffs Are Not Likely To Succeed On The Merits.

       A.      The AIR pilot program does not offend the Fourth Amendment.

               1. The operation of the AIR pilot does not effectuate a “search” within the
                  meaning of the Fourth Amendment.

       The Fourth Amendment to the United States Constitution protects “[t]he right of the people

to be secure in their persons, houses, papers, and effects, against unreasonable searches and

seizures.” U.S. Const. Amend. IV. The word “search,” of course, is a legal term of art. Until fairly

recently in American history, a Fourth Amendment search occurred only if law enforcement

“obtain[ed] information by physically intruding on a constitutionally protected area.” Carpenter

v. United States, 138 S. Ct. 2206, 2213 (2018) (quoting United States v. Jones, 565 U.S. 400, 405


and education in decades as a policing professional inform Commissioner Harrison’s judgment
that long-term and short-term solutions should be pursued in tandem, and that every available
resource, including the AIR pilot program, should be brought to bear in combatting the City’s
violent crime epidemic.



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(2012)). Today, in addition to this property rights based approach, the Supreme Court has

expanded its definition of “search” to include an intrusion upon an individual’s reasonable

expectation of privacy. Carpenter v. United States, 138 S. Ct. at 2213 (citing Katz v. United States,

389 U.S. 347, 351 (1967). The “reasonable expectation of privacy” test involves a two-part

inquiry: first, whether the individual has a subjective expectation of privacy, and second, whether

society is prepared to recognize that expectation as reasonable.” Carpenter, 138 S. Ct. at 2213.

Simply put, if there is no reasonable expectation of privacy, there is no search. “[I]n order to claim

the protection of the Fourth Amendment, a defendant must demonstrate that he personally has an

expectation of privacy in the place searched, and that his expectation is reasonable; i.e., one that

has ‘a source outside of the Fourth Amendment, either by reference to concepts of real or personal

property law or to understandings that are recognized and permitted by society.’” Minnesota v.

Carter, 525 U.S. 83, 88 (1998) (quotation omitted). Case law and common sense necessitate the

conclusion that there is no reasonable expectation of privacy in the public movements of

unidentifiable persons or vehicles near crimes scenes for discrete periods of time.

                      i.   Aerial photography and surveillance is not a search.

       “In determining whether a particular form of government-initiated electronic surveillance

is a ‘search’ within the meaning of the Fourth Amendment, [the] lodestar is” the “‘reasonable

expectation’” test from Katz v. United States, 389 U.S. 347 (1967).” Smith v. Maryland, 442 U.S.

735, 739 (1979). The United States Supreme Court and the Fourth Circuit have held constitutional

far more intrusive aerial surveillance than that contemplated by the AIR program. For example, in

California v. Ciraolo, 476 U.S. 207 (1986), the Supreme Court upheld the warrantless real-time

aerial surveillance of an individual’s backyard (i.e. his private property). In Ciraolo, the police

received an anonymous tip that the individual was growing marijuana plants in his yard, but were




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unable to confirm because of a high fence erected around the property. Id. at 211. The police flew

over the yard at 1,000 feet, confirmed the presence of marijuana plants, secured a warrant, and

arrested the individual. Id. at 207. Even though the individual had manifested a subjective

expectation of privacy installing high fences to prevent observation from ground-level vantage

points, the Court noted that “the mere fact that an individual has taken measures to restrict some

views of his activities does not preclude an officer’s observations from a public vantage point

where he has a right to be and which renders the activities clearly visible.” Id. at 207. Similarly, in

Florida v. Riley, 488 U.S. 445 (1989), the Supreme Court held that warrantless aerial surveillance

of private property from an altitude of merely 400 feet did not violate the Fourth Amendment. Id.

The aerial surveillance in Riley allowed the police to view the interior of a partially covered

greenhouse located in a private, residential backyard. Id. at 447-48. See also United States v. Breza,

308 F.3d 430, 434-35 (4th Cir. 2002) (holding constitutional aerial surveillance of the defendant’s

property at an altitude of 200 feet because the helicopter flew above FAA regulations at a height

that was a regular occurrence in the defendant’s area); Giancola v. State of W. Va. Dep’t of Pub.

Safety, 830 F.2d 547, 551 (4th Cir. 1987) (holding constitutional aerial surveillance at 100 feet

because the flight was consistent with FAA regulations and did not disturb the property).

       Although Ciraolo and Riley were naked-eye surveillance, the Supreme Court has permitted

law enforcement to observe what is visible from publicly navigable airspace without a warrant,

even when using powerful camera technology. In Dow Chemical Co. v. United States, 476 U.S.

227 (1986), the Court held that a search did not occur when EPA investigators flew over an

industrial complex belonging to Dow Chemical at 1,200, 3,000, and 12,000 feet and photographed

parts of the property. Id. at 229-31. Agents used “the finest precision aerial camera available” that

could capture “a great deal more than the human eye could ever see.” Id. at 230. As noted, the AIR




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program cameras do not have zoom, telephoto, or infrared technology and the subjects captured

will appear at a resolution of one pixel per person. The wide-angle cameras to be used in the AIR

program are hardly “fine precision” and the images they capture hardly cutting edge technology.

       Law enforcement in Ciraolo, Riley, and Dow Chemical conducted surveillance by flying

over the private property of specific, targeted, and identified individuals and/or properties at

altitudes of a mere 400 to 1,000 feet. In contrast, the AIR program cannot be used to track

movements of specific individuals or vehicles. The data can be accessed only after a violent crime

is reported and the incident given an identification number. Unlike Ciraolo, Riley, and Dow

Chemical, the intent of the AIR is not to capture or investigate images on individual’s private

properties, but rather to track public movements of unidentified persons and vehicles from crime

scenes. The AIR program aircraft will also fly at much higher altitudes, within publicly navigable

airspace. The activities at issue in the AIR program are far less intrusive than those described in

Ciraolo, Riley, and Dow Chemical and therefore fall squarely within the holdings of these cases.

                     ii.   Observation of public movements is not a search.

       The AIR contractor will piece together public movements of unidentifiable individuals

and/or vehicles once it receives notification from BPD of a violent crime at a particular location.

The Court’s decisions in Ciraolo, Riley, and Dow Chemical are consistent with the general axiom

that an individual does not have an expectation of privacy in their public movements. See, e.g.,

United States v. Jones, 565 U.S. 400 (2012); United States v. Knotts, 460 U.S. 276 (1983).

Therefore, the observation of public movements is generally not a “search” within the meaning of

the Fourth Amendment. See Katz v. United States, 389 U.S. at 351 (“[w]hat a person knowingly

exposes to the public, even in his own home or office, is not a subject of Fourth Amendment

protection.”). In United States v. Knotts, the Supreme Court rejected the notion that the government




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conducted a search by tracking a vehicle through public streets with visual surveillance aided by

an electronic beeper attached to a container in the vehicle:

       [a] person travelling in an automobile on public thoroughfares has no reasonable
       expectation of privacy in his movements from one place to another. When [the
       defendant] travelled over the public streets he voluntarily conveyed to anyone
       who wanted to look the fact that he was travelling over particular roads in a
       particular direction, the fact of whatever stops he made, and the fact of his
       final destination when he exited from public roads onto private property.

460 U.S. at 281-82 (emphasis added). The constitutional analysis of the AIR program differs very

little from that in Knotts. Public movements are public movements, regardless of the technology

used to capture them. In fact, in Knotts, the Court opined that “[t]he fact that the officers in this

case relied not only on visual surveillance, but on the use of the beeper . . . does not alter the

situation. Nothing in the Fourth Amendment prohibited the police from augmenting the sensory

faculties bestowed upon them at birth with such enhancement as science and technology afforded

them in this case,” id. at 282, and that “[w]e have never equated police efficiency with

unconstitutionality, and we decline to do so now.” Id. at 284.

       In essence, the Knotts Court held that public visibility eliminates the reasonable expectation

of privacy. Id.; Compare United States v. Karo, 468 U.S. 7705 (1984) (holding that using a beeper,

lawfully placed in a container without the defendant’s knowledge, in order to monitor the presence

of the container inside the defendant’s house, constituted an intrusion upon his reasonable

expectation of privacy.). The visibility of the object is dispositive as to whether a “search”

occurred. Publicly visible objects and movements are in a different category than those concealed

within the four walls of a person’s home. This distinction makes sense in the broader context of

American values and Fourth Amendment jurisprudence. See, e.g., Florida v. Jardines, 569 U.S. 1,

6 (2013) (citation and internal quotation marks omitted) (“But when it comes to the Fourth

Amendment, the home is first among equals. At the Amendment’s very core stands the right of a



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man to retreat into his own home and there be free from unreasonable governmental intrusion.”).

The AIR program is simply a creative, technological assist to surveillance tools already in law

enforcement’s tool kit. It does not travel inside person’s homes or park outside a person’s residence

at all hours waiting for the individual to emerge. If it would be constitutionally permissible for a

law enforcement officer to surveil an individual during daylight hours on foot, then it must too be

constitutional for the officer to do so using the AIR program.

                    iii.   Plaintiffs’ reliance on Carpenter is misplaced.

       In a 5-4 decision explicitly limited to the acquisition of more than 7 continuous days of

cell-site location information (CSLI) data, the Court held that a Fourth Amendment search

occurred. Carpenter, 138 S. Ct. 2217 (emphasis added) (“[W]e hold that an individual maintains

a legitimate expectation of privacy in the record of his physical movements as captured by

CSLI.”). There, law enforcement collected 127 days of historic CSLI (culminating in almost

13,000 data points) from two wireless providers without a warrant. Id. at 2212. The majority found

it significant that “[m]apping a cell phone’s location over the course of 127 days provide[d] an all-

encompassing record of [the defendant’s] whereabouts.” Id. at 2217. Recognizing modern realities

of a cell phone being an extension of a person, the Court was concerned with the breadth of the

information the government could obtain about an individual’s movement for a long period of

time, which would include the person’s “familial, political, professional, religious, and sexual

associations.” Id. at 2217-18. The AIR program, of course, does not derive any identifying or

location information from the cell phone other personal properly of any individual.

       Plaintiffs read Carpenter expansively in an effort to apply its holding to all new uses of

technology that they personally deem to be “dystopian.” See, e.g., Brief at 14 (“Modern location-

tracking technologies simply change the game.”). The Court specifically cautioned against




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Plaintiffs’ reading of the case. See Carpenter, 138 S. Ct. at 2220 (“Our decision today is a narrow

one. We do not express a view on matters not before us: real-time CSLI or ‘tower dumps’ (a

download of information on all the devices that connected to a particular cell cite during a

particular interval.)”); id. (emphasizing that its holding did not “call into question conventional

surveillance techniques and tools, such as security cameras”). As explained above, the Supreme

Court and the Fourth Circuit have deemed warrantless aerial surveillance constitutional for nearly

35 years.

        Moreover, in rendering its decision, the Court repeatedly highlighted the uniqueness of

CSLI data and cell phones. Id. at 2218 (citations and internal quotation marks omitted) (“While

individuals regularly leave their vehicles, they compulsively carry cell phones with them all the

time” and noting that “nearly three-quarters of smart phone users report being within five feet of

their phones most of the time, with 12% admitting that they even use their phones in the

shower[.]”); id. at 2219 (stating that CSLI records are a “distinct category of information.”).

Indeed, “modern cell phones, which are now such a pervasive and insistent part of daily life that

the proverbial visitor from Mars might conclude they were an important feature of human anatomy.

A smart phone of the sort taken from [defendant] was unheard of ten years ago; a significant

majority of American adults now own such phones.” Riley v. California, 573 U.S. 373, 385 (2014).

       The omnipresence of cell phones, which provide location data without regard to whether

the owner is in a public or private place, was a significant driver in Carpenter. This aligns with

the distinction between Karo and Knotts, and the heightened privacy expectations individuals have

in their private homes, discussed supra. Both cell phones, and the beeper in Karo can track

movements within an individual’s home and were thus considered omnipresent in the individuals’




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life. The procedures authorized in Knotts, like the AIR pilot program, capture only movements

visible to the public.

        Carpenter is also inapposite because CSLI creates an easily prepared individually

identifiable record that can reveal a comprehensive record of that particular individual’s

movements and activities at all hours and in nearly all locations. Again, the AIR program will be

utilized only when a violent crime is reported, will track purely public movements that are

traceable to a crime scene, cannot identify individuals or vehicles, and will capture up to 12 hours

per day of data during daylight and favorable weather. It is not continuous monitoring in the same

way that a cell phone can be considered “almost a ‘feature of human anatomy.’” Carpenter, 138

S. Ct. at 2218 (quoting Riley, 134 S. Ct. at 2484). The AIR program does not use any special

infrared, telephoto, zoom, or other technology comparable to CSLI. In short, the Carpenter

decision was a “narrow one” that was really about “a detailed chronicle of a person’s physical

presence compiled every day, every moment, over several years.” Id. at 2200. The AIR program

information is inherently much more limited in scope than CSLI or continuous GPS tracking. It is

far less detailed and intrusive than CSLI or GPS tracking, and falls squarely within aerial

surveillance techniques previously held to be constitutional by the Supreme Court and Fourth

Circuit.

        Further, the limitation of Carpenter’s holding to collections exceeding 7 days’ data

suggests that a shorter collection period is permissible. See, e.g., Young v. Owens, 577 Fed. Appx.

410, 412 (6th Cir. 2014) (holding constitutional several weeks of surveillance of a store); United

States v. Gaskins, 690 F.3d 569, 574, 577 (D.C. Cir. 2012) (“weeks of surveillance” using both

stationary and moving vehicles, and a mounted pole cameras); United States v. Johnson, 480 Fed.

Appx. 835, 837 (6th Cir. 2012) (residence under surveillance for five or 6 weeks); United States




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v. Gramlich, 551 F.2d 1359, 1360-1361 (5th Cir. 1977) (continual surveillance of activities for

“over three weeks.”). Based on the operational realities of the AIR pilot program, the longest

continuous stretch of data collection that would be conducted would be the roughly 12-hour flight

window. McNutt Decl., ¶ 5. While planes are grounded overnight, or in inclement weather, a dot

representing a vehicle in a parking lot may have disappeared. Id., ¶ 13. Likewise, it cannot be

known if the dot representing a person entering a house has departed. Id. Thus successive days

of AIR data cannot be stitched together to create a continuous record of even one full day, much

less a week, of any person’s movements. Id., ¶ 14.

       Several years before the Court decided Carpenter, in United States v. Jones, 565 U.S. 400

(2012), the Supreme Court reviewed the use of a GPS tracking device affixed to the undercarriage

of a vehicle to track the movements of the defendant over a period of 28 days. The Court held that

the electronic location surveillance over a period of 28 days was a search and that admission of

evidence obtained by the warrantless use of the GPS device violated the Fourth Amendment.

Justice Scalia’s majority opinion found that a search occurred under the traditional, pre-Katz

“trespass” rationale (placing the GPS on the vehicle constituted a “trespass” which violates the

Fourth Amendment),10 but five members of the Court also acknowledged that individuals have a

reasonable expectation of privacy in such invasive details of their physical movements. See id. at

430 (Alito, J., concurring); id. at 415 (Sotomayor, J., concurring). Justice Alito reasoned that

“relatively short-term monitoring of a person’s movements on public streets accords with



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           Jones, 565 U.S. at 413-14 (Sotomayor, J., concurring) (“In this case, the Government
installed a Global Positioning System (GPS) tracking device on respondent Antoine Jones’ Jeep
without a valid warrant and without Jones’ consent, then used that device to monitor the Jeep's
movements over the course of four weeks. The Government usurped Jones’ property for the
purpose of conducting surveillance on him, thereby invading privacy interests long afforded, and
undoubtedly entitled to, Fourth Amendment protection”.)



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expectations of privacy that our society has recognized as reasonable. But the use of longer-term

GPS monitoring in investigations of most offenses impinges on expectations of privacy.” 565 U.S.

at 430 (citing Knotts, 460 U.S. at 281-82).

       The AIR program is not analogous to GPS monitoring or historic CSLI data collection.

The AIR contractor will not, indeed cannot, capture continuous activities of individuals. McNutt

Decl., ¶ 14. The contractor will capture photos of City streets for 12 hours per day during daylight

hours. Outside of those 12 hours, City streets will be untracked and any “trail” is disrupted. They

cannot track an individual or vehicle continuously for more than one day during daylight hours.

This is a similar type of surveillance that a law enforcement officer could conduct without the

money and resource-saving technological assist provided by the AIR program.

       Yet another distinguishing feature rendering Carpenter inapposite, AIR program

contractors do not deliver the raw data set to the police, but instead apply sophisticated algorithms

and labor intensive methods to find and identify relevant images related to a request from law

enforcement to support an investigation or prosecution. McNutt Decl., ¶ 12. Tracking the

movements of a single person or vehicle over two hours requires one hour of analyst labor, and

most investigations involve tracking multiple subjects. Id. Accordingly, the vendor must prioritize

requests for support of target crime investigations and allocate limited analytical capacity to those

deemed to be the highest priority. This is a far cry from the “effortless[]” compilation of “detailed”

information concerning public and private movements that the Court found so distasteful in

Carpenter. 138 S. Ct. at 2216.

       Observations of public movements are expected in Baltimore. To the extent that an

individual has a subjective expectation of privacy in his or her public movements viewed from an

aircraft, such an expectation is not one that society is “prepared to recognize as reasonable.”




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Carpenter, 138 S. Ct. at 2213. At any given time, multiple helicopters (operated by BPD, other

law enforcement agencies, and local media) are visible in the skies over Baltimore. Likewise

ground-based recording is prolific. EZ pass systems, license plate readers, CitiWatch, CCTV,

speed and red light cameras, private security systems for commercial and residential properties are

all a routine part of daily life, as are images captured by the cellphones of ordinary citizens. It

cannot be that the public recognizes the abundance of cameras potentially capturing their activities

in the public thoroughfare and still maintains a “reasonable” expectation of privacy in movement

of a dot captured by the AIR program.

          In sum, Plaintiffs have not made a “clear showing” that they are “likely” to succeed on the

merits. Winter, 555 U.S. at 20; Di Biase, 872 F.3d at 230. In fact, the opposite is true. The lynchpin

of Plaintiffs’ argument is an expansive interpretation of Carpenter, which was a 5-4 decision that

the Court expressly defined as “narrow,” and strongly suggested should be limited exclusively to

CSLI data acquisition for periods of seven days or more. 138 S. Ct. at 2217, 2217 n.3, 2220.

Because Plaintiffs fail to meet the first element, the Court should deny their request for injunctive

relief.

                 2. Plaintiffs do not have standing to challenge the AIR program.

          The AIR program could not even theoretically violate an individual’s constitutional rights

unless and until the BPD accesses or otherwise utilizes the information. Plaintiffs cannot bring an

action alleging a constitutional violation based upon a future violation of constitutional rights,

which may or may not occur. Plaintiffs do not have standing to challenge the constitutionality of

the AIR program. To be sure, while the concept of standing “is not distinct from the merits,” it

“can be a useful shorthand for capturing the idea that a person must have a cognizable Fourth

Amendment interest in the place searched before seeking relief for an unconstitutional search.”

Byrd v. United States, 138 S. Ct. 1518, 1530 (2018). In other words, a plaintiff must allege facts


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to establish that law enforcement invaded his or her reasonable expectation of privacy. “A person

who is aggrieved by an illegal search and seizure only through the introduction of damaging

evidence secured by a search of a third person’s premises or property has not had any of his Fourth

Amendment rights infringed.” Rakas v. Illinois, 439 U.S. 128, 134 (1978) (emphasis added). This

is because Fourth Amendment rights “are personal in nature.” Steagald v. United States, 451 U.S.

204, 219 (1981). “[I]t is . . . clear that legitimate presence on the premises of the place searched,

standing alone, is not enough to accord a reasonable expectation of privacy because it ‘creates too

broad a gauge for measurement of Fourth Amendment rights.” Byrd, 138 S. Ct. at 1527 (2018)

(quotation omitted). Although reasonableness is “the Fourth Amendment’s ultimate touchstone,”

Brigham City v. Stuart, 547 U.S. 398, 398 (2006), “the question is not whether the officer[s] acted

reasonably vis-à-vis the world at large. Rather, the question is whether the officer[s] acted

reasonably as against the plaintiff.” Howerton v. Fletcher, 213 F.3d 171, 173 (4th Cir. 2000).

       Although Plaintiffs are residents of Baltimore City, they have not shown that data capturing

their individual movements will be reviewed by BPD, or that BPD would have any way of

identifying them specifically. As stated, the AIR program cannot reveal the physical characteristics

of individuals or vehicles, and the data is reviewed only if a call comes in, and an incident number

is assigned to, one of the enumerated violent crimes. Plaintiffs cannot request a preliminary

injunction on the contingency that sometime in the future, it is possible that their constitutional

rights may be violated in the event that they are near a crime scene.

       Plaintiffs’ constitutional rights are not implicated unless and until BPD uses the data

collected by the AIR program to track movements that are attributed to them. The CSLI analyzed

in the Carpenter case provides a useful analogy—the Court did not prohibit the cell phone

providers from collecting CSLI—the collection of CSLI did not become a constitutional question




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until law enforcement collected well in excess of seven days of data from the cell phone provider.

See generally Carpenter, 138 S. Ct. at 2207; see also Walter v. United States, 477 U.S. 649, 662

(1980) (the Fourth Amendment’s protections typically only apply to government actors). In other

words, the collection of the data by AIR program contractors is not the constitutional issue; it is

the BPD’s retrieval of such data from the AIR program contractors and subsequent use. BPD will

not have direct access to the raw data.

       And, assuming arguendo that Carpenter applies to the AIR program and that aerial

surveillance is akin to CSLI data, Plaintiffs have not established that BPD could, much less would,

obtain or utilize more than seven days of data without requesting a warrant. Carpenter, 138 S. Ct.

at 2217 n.3 (“[W]e need not decide whether there is a limited period for which the Government

may obtain an individual’s historical CSLI free from Fourth Amendment scrutiny, and if so, how

long that period might be. It is sufficient for our purposes today to hold that accessing seven days

of CSLI constitutes a Fourth Amendment search); id. at 2234 (Kennedy, J., dissenting) ((“The

Court suggests that less than seven days of location information may not require a warrant. See

ante, at 2217 n.3; see also ante, at 2220-2221 (Expressing no opinion on “real-time CSLI,” tower

dumps, and security camera footage).”). For these reasons, Plaintiffs do not have standing to

challenge the constitutionality of the AIR program.

       B.      Plaintiffs cannot prevail on a First Amendment claim because they lack standing.

       This Court should not reach the merits of the First Amendment claim – and it has no chance

of succeeding – because Plaintiffs lack standing. It is axiomatic that a plaintiff must demonstrate

that he has been, or imminently will be, harmed in order to invoke judicial review of governmental

action. Ex parte Levitt, 302 U.S. 633, 636 (1937). The harms that Plaintiffs contend are visited

on them by the AIR program consist of fear of being surveilled and belief that the existence of the

AIR program will impair their activities and associations. “Allegations of a ‘chill’ are not an


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adequate substitute for a claim of specific present objective harm or a threat of specific future

harm; ‘the federal courts established pursuant to Article III of the Constitution do not render

advisory opinions.’” Laird v. Tatum, 408 U.S. 1, 13-14 (1972) (quoting United Public Workers of

America (C.I.O.) v. Mitchell, 330 U.S. 75, 89 (1947)). As a matter of law, Plaintiffs have failed to

establish standing and, as such, their First Amendment claim is not properly before the Court.

       Plaintiffs do not assert that their movements, meetings or associations are directly regulated

by BPD, but rather that they would be harmed by the existence of the AIR pilot program.

Particularly, Plaintiffs assert that the program causes them (and, they presume, their associates) to

fear that they will be recorded or their movements included in one of the program’s investigatory

reports on a murder, shooting, or armed robbery. Love Decl., ¶ 10; Bridgeford Decl., ¶¶ 10, 12,

16; James Decl., ¶ 6. To mitigate this fear of being recorded, Plaintiffs claim that they will modify

or limit their activities and interactions in a manner that is burdensome. Love Decl., ¶¶ 13

(“Knowing that our movements are being recorded every time we move about in public would

force us to change our behavior… [which will] divert time and staff resources from other LBS

work.”), 14 (“we expect that some of our present and future partners will decide not to engage with

us”), Bridgeford Decl., ¶ 15; James Decl. ¶ 8.          Borne of their own advocacy and stated

organizational missions, Plaintiffs further portend various abuses that will result from the operation

of the program. Love Decl., ¶ 15 (projecting that the AIR pilot will “generate information that

could be weaponized against us”); James Decl., ¶ 7 (“I am troubled by the BPD being given this

extremely powerful new tool with which they can harass people.”). In sum, Plaintiffs express the

subjective expectation of a chilling effect on their associations. Love Decl., ¶ 16 (the “AIR

program will have a tremendous chilling effect”); Bridgeford Decl., ¶ 16 (projecting chilling




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effect); James Decl., ¶ 8 (same). Both the Supreme Court and the Fourth Circuit categorically

reject this type of “harm” as sufficient to ground standing.

       In Laird v. Tatum, the Supreme Court considered “whether the jurisdiction of a federal

court may be invoked by a complainant who alleges that the exercise of his First Amendment rights

is being chilled by the mere existence, without more, of a governmental investigative and data-

gathering activity that is alleged to be broader in scope than is reasonably necessary for the

accomplishment of a valid governmental purpose.” 408 U.S. at 10. There, plaintiffs were four

individuals and nine unincorporated associations engaged in political activism who challenged the

Army’s “surveillance of lawful and peaceful civilian political activity.” Id. at 1. The program at

issue used “sophisticated electronic methods of surveillance” along with infiltration of meetings

by secret agents to target political activists and gather information about their activities, which was

then broadly distributed to federal, state and local government officials. Donohoe v. Duling, 465

F.2d 196, 201 (4th Cir. 1972).

        The Laird plaintiffs alleged that “the purpose and effect of the collection, maintenance and

distribution of the information on civilian political activity… [was] to harass and intimidate

plaintiffs and others similarly situated and to deter them from exercising their rights… protected

by the First Amendment by invading their privacy, damaging their reputations, [and] adversely

affecting their employment…” Brief for Respondents, 1972 WL 135682, *7-8. Further, the

plaintiffs alleged they were harmed by “fear that they will be made subjects of reports in the

Army’s intelligence network,” and, in fact, “most if not all… [had] been the subject of Army

surveillance reports and their names [] appeared in the Army's records.” Id., *8; Tatum v. Laird,

444 F.2d 947, 956, n. 17 (D.C. Cir. 1971), rev'd, 408 U.S. 1. In rejecting the activists’ claim, the

Laird Court observed that regulatory, proscriptive, or compulsory government actions that fall




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short of direct prohibitions against the exercise of First Amendment rights may violate the

Constitution. Laird, 408 U.S. at 11. However, such an impermissible chilling effect cannot “arise

merely from the individual’s knowledge that a government agency was engaged in certain

activities or from the individual's concomitant fear that, armed with the fruits of those activities,

the agency might in the future take some other and additional action detrimental to that individual.”

Id.

       Similar to the claims here, the crux of the Laird plaintiffs’ claims was that “they disagree[d]

with the judgments made by the Executive Branch with respect to the type and amount of

information the Army need[ed] and that the very existence of the Army’s data-gathering system

produce[d] a constitutionally impermissible chilling effect upon the exercise of their First

Amendment rights.” Id. at 13. This was insufficient. Absent a specific present objective harm,

or threat of same in the future, plaintiffs lacked standing. Id. at 14.

       Likewise, in Donohoe v. Duling, the Fourth Circuit considered the propriety of a police

department routinely surveilling demonstrations and public meetings, photographing participants,

and compiling files on them to be shared with other law enforcement agencies. 465 F.2d 196 (4th

Cir. 1972).   Noting that local police authorities enjoy a greater right to conduct domestic

surveillance than the Army had in Laird, the Donohoe court held that plaintiffs had no justiciable

claim. Id. at 202-203.

       Further, claimed harms that fundamentally derive from fear of surveillance – changing

business practices to avoid being recorded or hesitation by third parties to communicate, for

example – are likewise categorically insufficient to establish standing for a First Amendment

claim. Clapper v. Amnesty Intern. USA, 568 U.S. 398 (2013) (holding no injury established where

plaintiffs undertook costly or burdensome measures to avoid being surveilled in electronic




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communications, for example travelling to have in-person conversations, because they were

“simply the product of their fear of surveillance”). See also Wikimedia Found. v. Nat'l Sec.

Agency/Cent. Sec. Serv., No. 1:15-CV-662, 2019 WL 6841325, at *24 (D. Md. Dec. 16, 2019)

(applying Laird and observing that, in Clapper, “the Supreme Court has specifically found that a

claimed reluctance by third parties to communicate with a plaintiff, due to their subjective fears of

surveillance, is not fairly traceable to the alleged surveillance, and is thus foreclosed as a basis for

standing.”).

        The plaintiffs in both Donohoe and Laird were, in fact, targeted for surveillance because

of their exercise of First Amendment rights – more than plaintiffs here can argue – yet their fears

of being surveilled were not injuries sufficient to confer standing. The same result must obtain

here.

II.     No Person Will Suffer An Irreparable Injury If The AIR Pilot Proceeds

        For the foregoing reasons, the operation of the AIR pilot program will not offend the

constitutional rights of any Baltimorean, including the Plaintiffs. Because Plaintiffs have not

“clearly” shown that they are “likely” to succeed on the merits – as is undeniably their burden –

and because they lack standing, they have not shown a constitutional violation that would give rise

to an irreparable injury. Di Biase v. SPX Corp., 872 F.3d 224, 230 (4th Cir. 2017) (citation

omitted).

        If the Court were ultimately to be persuaded, presumably by facts not in the current record,

that the operation of the AIR pilot had transgressed a legal boundary, it would not be without

authority to order relief. The totality of Plaintiffs’ grievance resides in the collection of purportedly

ill-gotten photographic imagery. If, in its final assessment, the Court were to determine that

Plaintiffs were injured by the existence of that imagery, the Court would certainly be empowered

to fashion an appropriate remedy.


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III.      The Public Interest Favors Proceeding With The AIR Pilot Because It May Assist In
          Abating Serious, Violent Crime

       As to the third Winter factor, the public interest favors proceeding with the AIR pilot program.

555 U.S. at 20. The level of violent crime in Baltimore has reached tragic proportions. In 2019,

there were 348 homicides on record. This is the second highest murder rate in the City’s history.

In 1993, there were 353 murders, but there were 125,000 more residents. See Tim Prudente, 2019

closes with 348 homicides, second-deadliest year on record, Balt. Sun, Jan 1, 2020,

http://www.baltimoresun.com/news/crime/bs-md-ci-cr-2019-homicide-final-count-20200101-

jnauuumukbdh3edsyypspsm3he-story.html; Justin Fenton, USA Today names Baltimore ‘the

nation’s         most       dangerous        city’,        Balt.   Sun.,      Feb.       19,      2018

http://www.baltimoresun.com/news/crime/bs-md-ci-usa-today-homicides-20180219-story.html.

(stating that Baltimore produced its highest-ever per capita murder rate in 2017). It is obvious that

Baltimore is a city in dire need of effective anti-violence tools. BPD has been given the

opportunity—at no cost to taxpayers—to employ traditional surveillance techniques in a creative

and unobtrusive way. This opportunity should not be laid waste because it does not fit Plaintiffs’

political agenda. See, e.g., Brief at 23 (wherein Plaintiffs explain their belief that although there is

unprecedented violent crime in Baltimore, law enforcement should not use AIR because there are

no “magic solutions,” and instead “[i]t takes a broad commitment to deep and lasting work—

through community building, youth education, and unapologetic political advocacy—to transform

deep-seated structural arrangements …”).

          While Plaintiffs purport to altruistically speak for all Baltimoreans, they do not represent

the public citizenry at large. The AIR program enjoys wide community support as a creative and

innovative tool with the potential to address crime without any disruption to daily life. The United

Baptist Ministry Convention, comprised of more than 100 Maryland churches including many



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impacted by violent crime, wrote to Commissioner Harrison to “support the research and fact-

finding test of AIR…” See Exhibit B, UMBC Letter of Support. This is consistent with

Commissioner Harrison’s experience in his first few weeks in Baltimore, when he participated in

nine community meetings across the city, and heard from numerous residents who voiced their

support for an aerial surveillance program. In addition to these meetings, Commissioner Harrison

scheduled meetings with community association leaders in all 13 council districts. A majority of

the community leaders and residents that attended these meetings, not only voiced their support of

the program, but stressed the importance of getting the program up and running as soon as possible.

Likewise, the Greater Baltimore Committee, the leading business advocacy organization in

Baltimore, has urged BPD to adopt the AIR program as an “innovative approach to crime solving.”

POSITION STATEMENT       ON   PUBLIC SAFETY   IN   BALTIMORE   AND   SUPPORT   OF THE   USE   OF    AERIAL

SURVEILLANCE     IN   BALTIMORE, Oct. 15, 2019, https://gbc.org/statement-on-public-safety-in-

baltimore-and-support-for-the-use-of-aerial-surveillance/. The injunctive relief analysis is not a

popularity contest, but it does not follow from Plaintiffs’ self-appointment as advocate for

Baltimoreans that the majority of Baltimoreans agree with them.

         Governor Hogan has voiced support for the program, along with “dozens of victims,

community groups, and business organizations.” Justin Fenton and Talia Richman, Baltimore

police    back   pilot   program    for   surveillance   planes,     Balt.   Sun,   Dec.      20,    2019,

http://www.baltimoresun.com/news/crime/bs-md-ci-cr-baltimore-police-support-surveillance-

plane-20191220-zfhd5ndtlbdurlj5xfr6xhoe2i-story.html. Furthermore, as noted, there has been

substantial transparency regarding the program, the program’s implementation, like most of BPD’s

activities, will be subject to the oversight of the Monitoring Team and Department of Justice to

ensure the Consent Decree is not violated, and, as noted in the contract, independent civilian




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verification and validation auditors will audit the program and ensure that it is being used only for

its intended purpose.

       Moreover, the public has an interest in seeing the serious, violent crimes occurring in their

neighborhoods solved, and the perpetrators held accountable. In light of the growing violent crime

rate and the lack of City and BPD resources available, the public and the BPD deserve the

opportunity to accept the philanthropically donated program to determine whether it lives up to its

potential as a valuable investigative tool for detectives. Plaintiffs’ attempt to substitute their

judgment on crime-fighting for that of career law enforcement professionals, the Mayor of

Baltimore City and the Governor of Maryland is entirely inappropriate. BPD is committed to both

constitutional policing and protecting Baltimoreans. The AIR program presents a unique

opportunity to accomplish both of these goals.

IV.    The Balance Of Hardships Favors Proceeding With The AIR Pilot

       As explained in opening, BPD and the City currently have a remarkable opportunity in the

AIR pilot program. Philanthropic support will allow BPD to learn whether AIR technology can

streamline detectives’ efforts and facilitate closing the most violent crimes and to do so free of

cost to City taxpayers. There is, however, no guarantee that the window of this opportunity will

remain open indefinitely. Were the AIR pilot to be derailed by months of delays in becoming

operational, it could mean the loss of a valuable tool in the crime fight. BPD and the public it

serves would both lose.


                                  *       *      *       *       *


       For the foregoing reasons, Plaintiffs have provided the Court with no basis, other than their

own disagreement with law enforcement policy decisions properly belonging to the Police




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